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UNITED STATES DISTRICT COURT
DISTRICT OF NEVADA
John Finken and Karen Finken, et al. Case #2:18-cv-00298
)
) VERIFIED PETITION FOR
Plaintiff{s), ) PERMISSION TO PRACTICE
) IN THIS CASE ONLY BY
Vs. ) ATTORNEY NOT ADMITTED
Keller Williams Realty, Inc., a Texas ) TO THE BAR OF THIS COURT
ae ) AND DESIGNATION OF
corporation, , LOCAL COUNSEL
)
Defendant(s). )
) FILING FEE IS $250.00
Patrick Peluso , Petitioner, respectfully represents to the Court:
(name of petitioner)
1, That Petitioner is an attorney at law and a member of the law firm of
Woodrow & Peluso, LLC
(firm name)
with offices at 3900 E. Mexico Ave., Suite 300 ,
(street address)
Denver , Colorado [~| , 80210
(city) (state) _ (zip code)
720-213-0676 . ppeluso@woodrowpeluso.com
(area code + telephone number) (Email address)
2. That Petitioner has been retained personally or as a member of the law firm by
John Finken and Karen Finken to provide legal representation in connection with

 

[cltent(s)]

the above-entitled case now pending before this Court.

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3, That since 11/3/2014 , Petitioner has been and presently is a
(date)
member in good standing of the bar of the highest Court of the State of Colorado
(state)

where Petitioner regularly practices law. Petitioner shall attach a certificate from the state bar or
from the clerk of the supreme court or highest admitting court of each state, territory, or insular
possession of the United States in which the applicant has been admitted to practice law certifying
the applicant’s membership therein is in good standing.

4, That Petitioner was admitted to practice before the following United States District
Courts, United States Circuit Courts of Appeal, the Supreme Court of the United States and Courts
of other States on the dates indicated for each, and that Petitioner is presently a member in good

standing of the bars of said Courts.

 

 

 

 

 

 

 

Court Date Admitted Bar Number
US District Court - Dist. of Colorado 1/5/2015
US District Court - WD of Wisconsin 6/15/2016
US District Court - Dist. of New Mexico 6/20/2016
US District Court - ED of Michigan 11/28/2017
5. That there are or have been no disciplinary proceedings instituted against petitioner,

nor any suspension of any license, certificate or privilege to appear before any judicial, regulatory
or administrative body, or any resignation or termination in order to avoid disciplinary or

disbarment proceedings, except as described in detail below:

 

None.

 

 

 

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6. That Petitioner has never been denied admission to the State Bar of Nevada. (Give

particulars if ever denied admission):

 

 

 

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None.

7. That Petitioner is a member of good standing in the following Bar Associations.
None.

8. Petitioner has filed application(s) to appear as counsel under Local Rule IA 11-2

(formerly LR IA 10-2) during the past three (3) years in the following matters: (State “none” if no applications.)

 

 

 

 

 

Date of Application Cause Title of Court Was Application
Administrative Body Granted or
or Arbitrator Denied
11/22/2017 2:17-cv-02600 USDC - Dist. of Nevada __ Granted ~
Denied ¥]
Denied ~|
Denied I]
Denied 7

 

(Ifnecessary, please attach a statement of additional applications)
9. Petitioner consents to the jurisdiction of the courts and disciplinary boards of the
State of Nevada with respect to the law of this state governing the conduct of attorneys to the same
extent as a member of the State Bar of Nevada.
10. Petitioner agrees to comply with the standards of professional conduct required of
the members of the bar of this court.
1]. Petitioner has disclosed in writing to the client that the applicant is not admitted to

practice in this jurisdiction and that the client has consented to such representation.

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That Petitioner respectfully prays that Petitioner be admifééd to practice before this Court

Lb

Petitioner’s signature

   

FOR THE PURPOSES OF THIS CASE ONLY.

  

STATE OF Colorado
5
COUNTY OF Dervecr )

Prteck ck (| U5 o , Petitioner, being first OO,

That the foregoing statements are true. Lf
MM Me

)
ben, deposes and says:

 

  
 

 

 

 

 

 

. / ~~ Petitioner’s signature
Subscribed and sworn to before me this
Sra _ -
2. [ day of Cela vA , 20O1E . LAURA R. MONTES
] NOTARY PUBLIC

- STATE OF COLORADO

Ty NOTARY ID 20164006991

Notary Public 6r Clerk of Cou LONMISSION EXPIRES FEB, 22, 2020

DESIGNATION OF RESIDENT ATTORNEY ADMITTED TO
THE BAR OF THIS COURT AND CONSENT THERETO.

Pursuant to the requirements of the Local Rules of Practice for this Court, the Petitioner
believes it to be in the best interests of the client(s) to designate Mare P. Cook ;

(name of local counsel)
Attorney at Law, member of the State of Nevada and previously admitted to practice before the

 

above-entitled Court as associate resident counsel in this action. The address and email address of

said designated Nevada counsel is:

517 S. 9th Street
(street address)

 

 

 

 

Las Vegas , Nevada 89101. ,
(city) (state) (zip code)
702-737-7702 , mcook@bckltd.com
(area code + telephone number) (Email address)
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By this designation the petitioner and undersigned party(ies) agree that this designation constitutes
agreement and authorization for the designated resident admitted counsel to sign stipulations

binding on all of us.
APPOINTMENT OF DESIGNATED RESIDENT NEVADA COUNSEL

The undersigned party(ies) appoint(s) Marc P. Cook as
(name of local counsel)
his/her/their Designated Resident Nevada Counsel in this case.

Town. Finken

(party's signature)
John Finken, Plaintiff
(type or print party name, title)

Karen FinkKen

(party's signature)

 

 

 

Karen Finken, Plaintiff
(type or print party name, title)

 

  
  

CONSENT OF DESI
The undersigned hereby consents to ser

NEE
as agSociatefresidént Nevada counsel in this case.

Wf

Des/enated DA oe Counsel’s signature

 

4574 mcook@bckltd.com
Bar number Email address
APPROVED:
Dated: this day of , 20

 

UNITED STATES DISTRICT JUDGE

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STATE OF COLORADO, ss:

I, Cheryl Stevens Clerk of the Supreme Court of the State of

Colorado, do hereby certify that

Patrick Harry Peluso

has been duly licensed and admitted to practice as an

< ATTORNEY AND (OUNSELOR AT LAW

within this State; and that his/her name appears upon the Roll of Attorneys

 

 

and Counselors at Law in my office of date the 3”
day of November A.D. 2014 and that at the date hereof
the said Patrick Harry Peluso

 

is in good standing at this Bar.

IN WITNESS WHEREOE, I have hereunto subscribed my name and
affixed the Seal of said Supreme Court, at Denver, in said State, this

12 day of February ap..2918
Cheryl Stevens

f . Clerk
by Dory. Jaa
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(-™ Deputy Ch

 

 

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